        Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 1 of 42 PageID #:1




                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

    CAROL BERMAN, individually and on
    behalf of all others similarly situated,          Case No.:
                   Plaintiff,                         CLASS ACTION COMPLAINT
            v.                                        JURY TRIAL DEMANDED
    CDK GLOBAL, LLC,

                   Defendant.


          Plaintiff, Carol Berman (Plaintiff”), brings this Class Action Complaint on behalf of herself

and all others similarly situated, against Defendant, CDK Global, LLC (“Defendant”), alleging as

follows based upon information and belief and investigation of counsel, except as to the allegations

specifically pertaining to her, which are based on personal knowledge.

                                    NATURE OF THE ACTION

          1.     This class action arises out of Defendant’s failures to implement reasonable and

industry standard data security practices to properly secure, safeguard, and adequately destroy

Plaintiff’s and Class Members’ sensitive personally identifiable information (“Private

Information”) that it had acquired and stored for its business purposes.

          2.     Defendant’s data security failures allowed a targeted cyberattack to compromise

Defendant’s network (“Data Breach”) that, upon information and belief, contained Private

Information of Plaintiff and other individuals (“the Class”). The Data Breach occurred on or

around June 18, 2024.1

          3.      Defendant, “CDK Global is responsible for the software behind most major car

dealerships in North America, with clients including auto giants General Motors, Group 1



1
    https://em360tech.com/tech-article/cdk-global-cyber-attack (last accessed June 22, 2024).
      Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 2 of 42 PageID #:2




Automotive and Holman.” CDK Global Cyber Attack Shuts Down Car Dealerships, June 20, 2024,

available at https://em360tech.com/tech-article/cdk-global-cyber-attack (last accessed June 22,

2024).

         4.     Defendant, confirmed the Data Breach on June 19, 2024 by issuing the following

statement immediately after the breach:

         “We are actively investigating a cyber incident. Out of an abundance of caution and
         concern for our customers, we have shut down most of our systems and are working
         diligently to get everything up and running as quickly as possible.” 2

         5.     The Private Information compromised in the Data Breach included certain personal

information of individuals whose Private Information was maintained by Defendant, including

Plaintiff.

         6.     Upon information and belief, a wide variety of Private Information was implicated

in the breach, including, name, addresses, Social Security numbers, driver’s licenses, and financial

details like credit card numbers and bank account information. 3

         7.     The Data Breach was a direct result of Defendant’s failure to implement adequate

and reasonable cyber-security procedures and protocols necessary to protect individuals’ Private

Information with which it was hired to protect.

         8.     The mechanism of the Data Breach and potential for improper disclosure of

Plaintiff’s and Class Members’ Private Information was a known risk to Defendant, and thus

Defendant was on notice that failing to take steps necessary to secure Private Information from

those risks left that property in a dangerous condition.




2
  CDK Global cyberattack impacts thousands of US car dealerships, June 19, 2024 available
at https://www.bleepingcomputer.com/news/security/cdk-global-cyberattack-impacts-thousands-
of-us-car-dealerships/ (last accessed June 22, 2024).
3
  https://em360tech.com/tech-article/cdk-global-cyber-attack (last accessed June 22, 2024).
                                                 2
      Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 3 of 42 PageID #:3




       9.      Defendant breached its duties and obligations by failing, in one or more of the

following ways: (1) failing to design, implement, monitor, and maintain reasonable network

safeguards against foreseeable threats; (2) failing to design, implement, and maintain reasonable

data retention policies; (3) failing to adequately train staff on data security; (4) failing to comply

with industry-standard data security practices; (5) failing to warn Plaintiff and Class Members of

Defendant’s inadequate data security practices; (6) failing to encrypt or adequately encrypt the

Private Information; (7) failing to recognize or detect that its network had been compromised and

accessed in a timely manner to mitigate the harm; (8) failing to utilize widely available software

able to detect and prevent this type of attack, and (9) otherwise failing to secure the hardware using

reasonable and effective data security procedures free of foreseeable vulnerabilities and data

security incidents.

       10.     Defendant disregarded the rights of Plaintiff and Class Members (defined below)

by, inter alia, intentionally, willfully, recklessly, and/or negligently failing to take adequate and

reasonable measures to ensure its data systems were protected against unauthorized intrusions;

failing to disclose that it did not have adequately robust computer systems and security practices

to safeguard Plaintiff’s and Class Members’ Private Information; failing to take standard and

reasonably available steps to prevent the Data Breach; and failing to provide Plaintiff and Class

Members with prompt and full notice of the Data Breach.

       11.     In addition, Defendant failed to properly maintain and monitor the computer

network and systems that housed the Private Information. Had it properly monitored its property,

it would have discovered the intrusion sooner rather than allowing cybercriminals a period of

unimpeded access to the Private Information of Plaintiff and Class Members.




                                                  3
      Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 4 of 42 PageID #:4




       12.     Plaintiff’s and Class Members’ identities are now at risk because of Defendant’s

negligent conduct since the Private Information that Defendant collected and maintained is now in

the hands of data thieves.

       13.     As a result of the Data Breach, Plaintiff and Class Members are now at a current,

imminent, and ongoing risk of fraud and identity theft. Plaintiff and Class Members must now and

for years into the future closely monitor their financial and medical accounts to guard against

identity theft. As a result of Defendant’s unreasonable and inadequate data security practices,

Plaintiff and Class Members have suffered numerous actual and concrete injuries and damages.

       14.     The risk of identity theft is not speculative or hypothetical but is impending and has

materialized as there is evidence that the Plaintiff’s and Class Members’ Private Information was

targeted, accessed, has been misused, and disseminated on the Dark Web.

       15.     Plaintiff and Class Members must now closely monitor their accounts to guard

against future identity theft and fraud. Plaintiff and Class Members have heeded such warnings to

mitigate against the imminent risk of future identity theft and financial loss. Such mitigation efforts

included and will continue to include in the future, among other things: (a) reviewing financial

statements; (b) changing passwords; and (c) signing up for credit and identity theft monitoring

services. The loss of time and other mitigation costs are tied directly to guarding against the

imminent risk of identity theft.

       16.     Plaintiff and Class Members have suffered numerous actual and concrete injuries

as a direct result of the Data Breach, including: (a) financial costs incurred mitigating the

materialized risk and imminent threat of identity theft; (b) loss of time and loss of productivity

incurred mitigating the materialized risk and imminent threat of identity theft; (c) financial costs

incurred due to actual identity theft; (d) loss of time incurred due to actual identity theft; (g)


                                                  4
      Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 5 of 42 PageID #:5




deprivation of value of their Private Information; and (h) the continued risk to their sensitive

Private Information, which remains in the possession of Defendant, and which is subject to further

breaches, so long as Defendant fails to undertake appropriate and adequate measures to protect the

information it collected and maintained.

       17.     Through this Complaint, Plaintiff seeks to remedy these harms on behalf of herself

and all similarly situated individuals whose Private Information was accessed during the Data

Breach.

       18.     Accordingly, Plaintiff brings this action against Defendant seeking redress for its

unlawful conduct and asserting claims for: (i) negligence and negligence per se, (ii) breach of

third-party beneficiary contract, (iii) unjust enrichment and (iv) breach of fiduciary duty.

       19.     Plaintiff seeks remedies including, but not limited to, compensatory damages,

reimbursement of out-of-pocket costs, and injunctive relief including improvements to

Defendant’s data security systems, future annual audits, as well as long-term and adequate credit

monitoring services funded by Defendant, and declaratory relief.

       20.     The exposure of one’s Private Information to cybercriminals is a bell that cannot

be un-rung. Before this Data Breach, Plaintiff’s and the Class’s Private Information was exactly

that—private. Not anymore. Now, their Private Information is forever exposed and unsecure.

                                             PARTIES

       21.     Plaintiff is an individual who at all relevant times has been a citizen and resident of

the State of Florida.

       22.     Plaintiff leased a car through a dealership who used the software provided by

Defendant.




                                                  5
      Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 6 of 42 PageID #:6




       23.     As a condition of leasing a vehicle from Defendant’s client, Plaintiff was required

to provide Defendant, directly or indirectly, with her Private Information, including her name,

addresses, Social Security numbers, driver’s licenses, and financial details like credit card numbers

and bank account information.

       24.     Upon information and belief, at the time of the Data Breach, Defendant retained

Plaintiff’s Private Information in its system.

       25.     Plaintiff is very careful about sharing her sensitive Private Information. Plaintiff

stores any documents containing her Private Information in a safe and secure location. She has

never knowingly transmitted unencrypted sensitive Private Information over the internet or any

other unsecured source.

       26.     Plaintiff is not aware of ever being part of a data breach before and is concerned

that it and other private information has now been exposed to bad actors. As a result, she has taken

multiple steps to avoid identity theft, including checking her credit monitoring services, setting up

notices and reports, and carefully reviewing all her accounts.

       27.     As a result of the Data Breach, Plaintiff made reasonable efforts to mitigate the

impact of the Data Breach, including but not limited to researching the Data Breach, and reviewing

credit reports and account statements for any indications of actual or attempted identity theft or

fraud. Plaintiff has already spent multiple hours dealing with the Data Breach, valuable time

Plaintiff otherwise would have spent on other activities.

       28.     Plaintiff suffered actual injury from having her Private Information compromised

as a result of the Data Breach including, but not limited to (a) damage to and diminution in the

value of Private Information, a form of property that Defendant obtained from Plaintiff; (b)




                                                 6
      Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 7 of 42 PageID #:7




violation of privacy rights; and (c) present, imminent and impending injury arising from the

increased risk of identity theft and fraud.

        29.      As a result of the Data Breach, Plaintiff anticipates spending considerable time and

money on an ongoing basis to try to mitigate and address harms caused by the Data Breach. As a

result of the Data Breach, Plaintiff is at a present risk and will continue to be at increased risk of

identity theft and fraud for years to come.

        30.      Plaintiff greatly values her privacy, and would not have provided her Private

Information, leased the car, and paid the amounts that she did if she had known that her Private

Information would be maintained using inadequate data security systems.

        31.      Defendant is an Illinois corporation with its principal place of business at 1950

Hassell Road, Hoffman Estates, Illinois 60169. Upon information and belief, Defendant’s

customers and the victims of the Data Breach reside in multiple states.

                                  JURISDICTION AND VENUE

        32.      This Court has subject matter jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million, exclusive of

interest and costs. The number of Class Members exceeds 100, some of whom have different

citizenship from Defendant, including Plaintiff. Thus, minimal diversity exists under 28 U.S.C. §

1332(d)(2)(A).

        33.      This Court has personal jurisdiction over Defendant because it is an Illinois

corporation that operates and has its principal place of business in this District and conducts

substantial business in this District.

        34.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1) because a

substantial part of the events giving rise to this action occurred in this District. Moreover,


                                                  7
      Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 8 of 42 PageID #:8




Defendant is domiciled in this District, maintains Plaintiff’s and Class Members’ Private

Information in this District, and has caused harm to Plaintiff and Class Members in this District.

                                  FACTUAL BACKGROUND

A.     Defendant Knew the Risks of Storing Valuable Private Information and the
       Foreseeable Harm to Victims.

       35.     At all relevant times, Defendant knew it was storing sensitive Private Information

and that, as a result, Defendant’s systems would be attractive targets for cybercriminals.

       36.     Defendant also knew that any breach of its systems, and exposure of the

information stored therein, would result in the increased risk of identity theft and fraud against the

individuals whose Private Information was compromised.

       37.     These risks are not merely theoretical; in recent years, numerous high-profile

breaches have occurred at businesses such as Equifax, Yahoo, Marriott, Anthem, and many others.

       38.     Following the Data Breach, Enterprise Management 360 reported how Defendant

was a “prime target” for cybercriminals, “. . . highlight[ing] the vulnerability of the auto industry

to cyber threats”4:

       “The cyber attack on CDK Global shows the absolute necessity for robust supply chain
       security as threat actors look to exploit weak links to infiltrate larger networks.

       ‘Car dealerships hold lots of valuable data, especially considerable financial information,
       making them a prime target for cybercriminals to try to gain access to and exploit security
       gaps to steal sensitive data,’ Andrew Lintell, General Manager EMEA at Claroty told
       EM360Tech.

       ‘Proactivity through comprehensive risk assessments, stringent access controls, and
       continuous monitoring is key. Organizations must maintain constant vigilance of all
       suppliers and be aware of potential vulnerabilities to prioritie the actions that must be taken
       to ensure operational resilience.’




4
  CDK Global Cyber Attack Shuts Down Car Dealerships, June 20, 2024, available
at https://em360tech.com/tech-article/cdk-global-cyber-attack (last accessed June 22, 2024).
                                               8
      Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 9 of 42 PageID #:9




       ‘The emerging risk of always-on VPNs can also be supplemented by implementing
       network segmentation to restrict unnecessary connectivity and the movement of malware,’
       he concluded.5

       The full extent of the damage caused by the CDK attack is still being assessed. However,
       it is clear that the incident has caused significant disruption to the auto retail industry and
       underscores the need for all businesses to prioritize robust cybersecurity measures.”

       39.     Private Information has considerable value and constitutes an enticing and well-

known target to hackers. Hackers easily can sell stolen data as a result of the “proliferation of open

and anonymous cybercrime forums on the Dark Web that serve as a bustling marketplace for such

commerce.”6

       40.     The prevalence of data breaches and identity theft has increased dramatically in

recent years, accompanied by a parallel and growing economic drain on individuals, businesses,

and government entities in the U.S. According to the ITRC, in 2019, there were 1,473 reported

data breaches in the United States, exposing 164 million sensitive records and 705 million “non-

sensitive” records.7

       41.     In tandem with the increase in data breaches, the rate of identity theft and the

resulting losses has also increased over the past few years. For instance, in 2018, 14.4 million

people were victims of some form of identity fraud, and 3.3 million people suffered unrecouped

losses from identity theft, nearly three times as many as in 2016. And these out-of-pocket losses

more than doubled from 2016 to $1.7 billion in 2018. 8




5
  Id.
6
   Brian Krebs, The Value of a Hacked Company, Krebs on Security (July 14, 2016),
http://krebsonsecurity.com/2016/07/the-value-of-a-hacked-company/ (last visited 2/23/2024).
7
  Data Breach Reports: 2019 End of Year Report, IDENTITY THEFT RESOURCE CENTER, at 2,
available at https://notified.idtheftcenter.org/s/resource#annualReportSection.
8
  Insurance Information Institute, Facts + Statistics: Identity theft and cybercrime, available at
https://www.iii.org/fact-statistic/facts-statistics-identity-theft-and-
cybercrime#Identity%20Theft%20And%20Fraud%20Reports,%202015-2019%20(1).
                                                     9
     Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 10 of 42 PageID #:10




       42.     The breadth of data compromised in the Data Breach makes the information

particularly valuable to thieves and leaves Defendant’s customers especially vulnerable to identity

theft, tax fraud, medical fraud, credit and bank fraud, and more.

       43.     According to the U.S. Government Accountability Office, which conducted a study

regarding data breaches: “[I]n some cases, stolen data may be held for up to a year or more before

being used to commit identity theft. Further, once stolen data have been sold or posted on the

[Dark] Web, fraudulent use of that information may continue for years. As a result, studies that

attempt to measure the harm resulting from data breaches cannot necessarily rule out all future

harm.”9

       44.     Even if stolen Private Information does not include financial or payment card

account information, that does not mean there has been no harm, or that the breach does not cause

a substantial risk of identity theft. Freshly stolen information can be used with success against

victims in specifically targeted efforts to commit identity theft known as social engineering or

spear phishing. In these forms of attack, the criminal uses the previously obtained Private

Information about the individual, such as name, address, email address, and affiliations, to gain

trust and increase the likelihood that a victim will be deceived into providing the criminal with

additional information.

B.     Defendant Breached its Duty to Protect Plaintiff and Class Member’s Private
       Information


       45.     Defendant agreed to and undertook legal duties to maintain the protected personal

information entrusted to it by Plaintiff and Class Members safely, confidentially, and in

compliance with all applicable laws, including the Federal Trade Commission Act (“FTCA”), 15


9
  United States Government Accountability Office, Report to Congressional Requesters, Personal
Information, June 2007: https://www.gao.gov/assets/gao-07-737.pdf.
                                             10
     Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 11 of 42 PageID #:11




U.S.C. § 45. Under state and federal law, businesses like Defendant have duties to protect their

client’s current and former customers’ Private Information and to notify them about breaches.

       46.     The Private Information held by Defendant in its computer system and network

included the highly sensitive Private Information of Plaintiff and Class Members.

       47.     On June 18, 2024, Defendant became aware of a ransomware attack on its system.

       48.     Upon information and belief, the BlackSuit ransomware group is behind the Data

Breach.10

       49.     The BlackSuit ransomware group is a multi-pronged extortion outfit, encrypting

and exfiltrating victim data and hosting public data leak sites for those victims that fail to comply

with their demands.11

       50.     On June 24, 2024, Axios reported that “Allan Liska, a ransomware analyst at

Recorded Future, told Axios on Monday that he’s seen the CDK attack attributed to BlackSuit in

hacker forums and private chat channels.” 12

       51.     The Data Breach occurred as a direct result of Defendant’s failure to implement

and follow basic security procedures, and its failure to follow its own policies, in order to protect

Plaintiff and Class Member’s Private Information.

C.     Plaintiff and Class Members Suffered Damages

       52.     For the reasons mentioned above, Defendant’s conduct, which allowed the Data

Breach to occur, caused Plaintiff and Class Members significant injuries and harm in several ways.

Plaintiff and Class Members must immediately devote time, energy, and money to: 1) closely



10
   https://www.bleepingcomputer.com/news/security/cdk-global-outage-caused-by-blacksuit-
ransomware-attack/ (last visited June 26, 2024).
11
   https://www.sentinelone.com/anthology/blacksuit/ (last visited June 26, 2024).
12
   https://www.axios.com/2024/06/24/blacksuit-ransomware-cdk-global (last visited June 26,
2024).
                                               11
       Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 12 of 42 PageID #:12




monitor their financial accounts and medical statements, bills, records, and credit accounts;

2) change login and password information on any sensitive account even more frequently than

they already do; 3) more carefully screen and scrutinize phone calls, emails, and other

communications to ensure that they are not being targeted in a social engineering or spear phishing

attack; and 4) search for suitable identity theft protection and credit monitoring services, and pay

to procure them.

         53.     Once Private Information is exposed, there is virtually no way to ensure that the

exposed information has been fully recovered or contained against future misuse. For this reason,

Plaintiff and Class Members will need to maintain these heightened measures for years, and

possibly their entire lives, as a result of Defendant’s conduct. Further, the value of Plaintiff’s and

Class Members’ Private Information has been diminished by its exposure in the Data Breach.

         54.     As a result of Defendant’s failures, Plaintiff and Class Members are at a substantial

increased risk of suffering identity theft and fraud or misuse of Private Information.

         55.     From a recent study, 28% of consumers affected by a data breach become victims

of identity fraud – this is a significant increase from a 2012 study that found only 9.5% of those

affected by a breach would be subject to identity fraud. Without a data breach, the likelihood of

identify fraud is only about 3%.13

         56.     In the third quarter of the 2023 fiscal year alone, 7333 organizations experienced

data breaches, resulting in 66,658,764 individuals’ personal information being compromised. 14

         57.     Plaintiff and Class Members are also at a continued risk because their information

remains in Defendant’s systems, which have already been shown to be susceptible to compromise

and attack and are subject to further attack so long as Defendant fails to undertake the necessary


13
     https://blog.knowbe4.com/bid/252486/28-percent-of-data-breaches-lead-to-fraud.
14
     See https://www.idtheftcenter.org/publication/q3-data-breach-2023-analysis/.
                                                  12
     Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 13 of 42 PageID #:13




and appropriate security and training measures to protect Plaintiff and Class Member’s Private

Information.

                            COMMON INJURIES AND DAMAGES

       58.     As result of Defendant’s ineffective and inadequate data security practices, Plaintiff

and Class Members now face a present and ongoing risk of fraud and identity theft.

       59.     Due to the Data Breach, and the foreseeable consequences of Private Information

ending up in the possession of criminals, the risk of identity theft to Plaintiff and Class Members

has materialized and is imminent, and Plaintiff and Class Members have all sustained actual

injuries and damages, including but not limited to: (a) invasion of privacy; (b) “out of pocket”

costs incurred mitigating the materialized risk and imminent threat of identity theft; (c) loss of time

and loss of productivity incurred mitigating the materialized risk and imminent threat of identity

theft risk; (d) “out of pocket” costs incurred due to actual identity theft; (e) loss of time incurred

due to actual identity theft; (f) loss of time due to increased spam and targeted marketing emails;

(g) the loss of benefit of the bargain (price premium damages); (h) diminution of value of their

Private Information; and (i) the continued risk to their Private Information, which remains in

Defendant’s possession, and which is subject to further breaches, so long as Defendant fails to

undertake appropriate and adequate measures to protect Plaintiff’s and Class Members’ Private

Information.

A.     The Risk of Identity Theft to Plaintiff and Class Members is Present and Ongoing

       60.     The link between a data breach and the risk of identity theft is simple and well

established. Criminals acquire and steal Private Information to monetize the information.

Criminals monetize the data by selling the stolen information on the black market to other




                                                  13
     Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 14 of 42 PageID #:14




criminals who then utilize the information to commit a variety of identity theft related crimes

discussed below.

        61.     Because a person’s identity is akin to a puzzle with multiple data points, the more

accurate pieces of data an identity thief obtains about a person, the easier it is for the thief to take

on the victim’s identity – or track the victim to attempt other hacking crimes against the individual

to obtain more data to perfect a crime.

        62.     For example, armed with just a name and date of birth, a data thief can utilize a

hacking technique referred to as “social engineering” to obtain even more information about a

victim’s identity, such as a person’s login credentials or Social Security number. Social

engineering is a form of hacking whereby a data thief uses previously acquired information to

manipulate and trick individuals into disclosing additional confidential or personal information

through means such as spam phone calls and text messages or phishing emails. Data breaches are

often the starting point for these additional targeted attacks on the victims.

        63.     The dark web is an unindexed layer of the internet that requires special software or

authentication to access.15 Criminals particularly favor the dark web as it offers a degree of

anonymity to visitors and website publishers. Unlike the traditional or “surface” web, dark web

users need to know the web address of the website they wish to visit in advance. For example, on

the surface web, the CIA’s web address is cia.gov, but on the dark web the CIA’s web address is

ciadotgov4sjwlzihbbgxnqg3xiyrg7so2r2o3lt5wz5ypk4sxyjstad.onion. 16 This prevents dark web

marketplaces from being easily monitored by authorities or accessed by those not in the know.




15
    What Is the Dark Web?, Experian, available at https://www.experian.com/blogs/ask-
experian/what-is-the-dark-web/.
16
   Id.
                                       14
     Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 15 of 42 PageID #:15




       64.     A sophisticated black market exists on the dark web where criminals can buy or

sell malware, firearms, drugs, and frequently, personal and medical information like the Private

Information at issue here.17 The digital character of Private Information stolen in data breaches

lends itself to dark web transactions because it is immediately transmissible over the internet and

the buyer and seller can retain their anonymity. The sale of a firearm or drugs, on the other hand,

requires a physical delivery address. Nefarious actors can readily purchase usernames and

passwords for online streaming services, stolen financial information and account login

credentials, and Social Security numbers, dates of birth, and medical information. 18 As Microsoft

warns “[t]he anonymity of the dark web lends itself well to those who would seek to do financial

harm to others.”19

       65.     Social Security numbers, for example, are among the worst kind of personal

information to have stolen because they may be put to numerous serious fraudulent uses and are

difficult for an individual to change. The Social Security Administration stresses that the loss of

an individual’s Social Security number, as is the case here, can lead to identity theft and extensive

financial fraud:

       A dishonest person who has your Social Security number can use it to get other
       personal information about you. Identity thieves can use your number and your
       good credit to apply for more credit in your name. Then, they use the credit cards
       and don’t pay the bills, it damages your credit. You may not find out that someone
       is using your number until you’re turned down for credit, or you begin to get calls
       from unknown creditors demanding payment for items you never bought. Someone
       illegally using your Social Security number and assuming your identity can cause
       a lot of problems.20
17
    What is the Dark Web? – Microsoft 365, available at https://www.microsoft.com/en-
us/microsoft-365-life-hacks/privacy-and-safety/what-is-the-dark-web.
18
   Id.; What Is the Dark Web?, Experian, available at https://www.experian.com/blogs/ask-
experian/what-is-the-dark-web/.
19
    What is the Dark Web? – Microsoft 365, available at https://www.microsoft.com/en-
us/microsoft-365-life-hacks/privacy-and-safety/what-is-the-dark-web.
20
   Social Security Administration, Identity Theft and Your Social Security Number, available at:
https://www.ssa.gov/pubs/EN-05-10064.pdf.
                                               15
     Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 16 of 42 PageID #:16




       66.     What’s more, it is no easy task to change or cancel a stolen Social Security number.

An individual cannot obtain a new Social Security number without significant paperwork and

evidence of actual misuse. In other words, preventive action to defend against the possibility of

misuse of a Social Security number is not permitted; an individual must show evidence of actual,

ongoing fraud activity to obtain a new number.

       67.     Even then, a new Social Security number may not be effective, as “[t]he credit

bureaus and banks are able to link the new number very quickly to the old number, so all of that

old bad information is quickly inherited into the new Social Security number.” 21

       68.     Identity thieves can also use Social Security numbers to obtain a driver’s license or

official identification card in the victim’s name but with the thief’s picture; use the victim’s name

and Social Security number to obtain government benefits; or file a fraudulent tax return using the

victim’s information. In addition, identity thieves may obtain a job using the victim’s Social

Security number, rent a house or receive medical services in the victim’s name, and may even give

the victim’s personal information to police during an arrest resulting in an arrest warrant being

issued in the victim’s name. And the Social Security Administration has warned that identity

thieves can use an individual’s Social Security number to apply for additional credit lines. 22

       69.     According to the FBI’s Internet Crime Complaint Center (IC3) 2019 Internet Crime

Report, Internet-enabled crimes reached their highest number of complaints and dollar losses that

year, resulting in more than $3.5 billion in losses to individuals and business victims. 23



21
   Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR
(Feb. 9, 2015), http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-
millions-worrying-about-identity-theft.
22
   Identity Theft and Your Social Security Number, Social Security Administration, 1 (2018),
https://www.ssa.gov/pubs/EN-05-10064.pdf.
23
   See https://www.fbi.gov/news/stories/2019-internet-crime-report-released-021120.
                                               16
     Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 17 of 42 PageID #:17




       70.        Further, according to the same report, “rapid reporting can help law enforcement

stop fraudulent transactions before a victim loses the money for good.” 24 Defendant did not rapidly

report to Plaintiff and the Class that their Private Information had been stolen.

       71.        Victims of identity theft also often suffer embarrassment, blackmail, or harassment

in person or online, and/or experience financial losses resulting from fraudulently opened accounts

or misuse of existing accounts.

       72.        In addition to out-of-pocket expenses that can exceed thousands of dollars and the

emotional toll identity theft can take, victims of new account identity theft will likely have to spend

time correcting fraudulent information in their credit reports and continuously monitor their reports

for future inaccuracies, close existing bank/credit accounts, open new ones, and dispute charges

with creditors.

       73.        The Federal Trade Commission (“FTC”) has also recognized that consumer data is

a new and valuable form of currency. In an FTC roundtable presentation, former Commissioner

Pamela Jones Harbour stated that “most consumers cannot begin to comprehend the types and

amount of information collected by businesses, or why their information may be commercially

valuable. Data is currency. The larger the data set, the greater potential for analysis and profit.” 25

       74.        The FTC has also issued numerous guidelines for businesses that highlight the

importance of reasonable data security practices. The FTC has noted the need to factor data

security into all business decision-making. According to the FTC, data security requires: (1)

encrypting information stored on computer networks; (2) retaining payment card information only

as long as necessary; (3) properly disposing of personal information that is no longer needed; (4)



24
  Id.
25
   Statement of FTC Commissioner Pamela Jones Harbour (Remarks Before FTC Exploring
Privacy Roundtable), http://www.ftc.gov/speeches/harbour/091207privacyroundtable.pdf.
                                             17
        Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 18 of 42 PageID #:18




limiting administrative access to business systems; (5) using industry-tested and accepted methods

for securing data; (6) monitoring activity on networks to uncover unapproved activity; (7)

verifying that privacy and security features function properly; (8) testing for common

vulnerabilities; and (9) updating and patching third-party software. 26

          75.   Defendant’s failure to properly notify Plaintiff and Class Members of the Data

Breach exacerbated Plaintiff’s and Class Members’ injury by depriving them of the earliest ability

to take appropriate measures to protect their Private Information and take other necessary steps to

mitigate the harm caused by the Data Breach.

B.        Loss of Time to Mitigate the Risk of Identity Theft and Fraud

          76.   As a result of the recognized risk of identity theft, when a data breach occurs, and

an individual is notified by a company that their Private Information was compromised, as in this

Data Breach, the reasonable person is expected to take steps and spend time to address the

dangerous situation, learn about the breach, and otherwise mitigate the risk of becoming a victim

of identity theft of fraud. Failure to spend time taking steps to review accounts or credit reports

could expose the individual to greater financial harm – yet, the resource and asset of time has been

lost.

          77.   Plaintiff and Class Members have spent, and will spend additional time in the

future, on a variety of prudent actions, such as placing “freezes” and “alerts” with credit reporting

agencies, contacting financial institutions, closing or modifying financial accounts, changing

passwords, reviewing and monitoring credit reports and accounts for unauthorized activity, and

filing police reports, which may take years to discover and detect.




26
      See    generally    https://www.ftc.gov/business-guidance/resources/protecting-personal-
information-guide-business.
                                             18
     Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 19 of 42 PageID #:19




       78.     A study by Identity Theft Resource Center shows the multitude of harms caused by

fraudulent use of personal and financial information:27




       79.     In the event that Plaintiff and Class Members experience actual identity theft and

fraud, the United States Government Accountability Office released a report in 2007 regarding

data breaches (“GAO Report”) in which it noted that victims of identity theft will face “substantial

costs and time to repair the damage to their good name and credit record.” 28 Indeed, the FTC

recommends that identity theft victims take several steps and spend time to protect their personal

and financial information after a data breach, including contacting one of the credit bureaus to



27
     “Credit Card and ID Theft Statistics” by Jason Steele, 10/24/2017, at
https://www.creditcards.com/credit-card-news/credit-card-security-id-theft-fraud-statistics-
1276.php.
28
   See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited;
However, the Full Extent Is Unknown,” p. 2, U.S. Government Accountability Office, June 2007,
https://www.gao.gov/new.items/d07737.pdf (“GAO Report”).
                                              19
     Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 20 of 42 PageID #:20




place a fraud alert (and considering an extended fraud alert that lasts for 7 years if someone steals

their identity), reviewing their credit reports, contacting companies to remove fraudulent charges

from their accounts, placing a credit freeze on their credit, and correcting their credit reports. 29

C.      Diminution of Value of the Private Information

        80.     Private Information is a valuable property right.30 Its value is axiomatic,

considering the value of Big Data in corporate America and the fact that consequences for cyber

thefts include heavy prison sentences. Even this obvious risk to reward analysis illustrates beyond

doubt that Private Information has considerable market value.

        81.     Private Information can sell for as much as $363 per record according to the Infosec

Institute.31

        82.     An active and robust legitimate marketplace for Private Information also exists. In

2019, the data brokering industry was worth roughly $200 billion. 32 In fact, the data marketplace

is so sophisticated that consumers can actually sell their non-public information directly to a data

broker who in turn aggregates the information and provides it to marketers or app developers. 33, 34

Consumers who agree to provide their web browsing history to the Nielsen Corporation can

receive up to $50 a year.35




29
   See https://www.identitytheft.gov/Steps.
30
   See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable
Information (“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech. 11, at *3-4
(2009) (“PII, which companies obtain at little cost, has quantifiable value that is rapidly reaching
a level comparable to the value of traditional financial assets.”) (citations omitted).
31
   See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July 27, 2015),
https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-the-black-market/.
32
   https://www.latimes.com/business/story/2019-11-05/column-data-brokers.
33
   https://datacoup.com/.
34
   https://digi.me/what-is-digime/.
35
     Nielsen Computer & Mobile Panel, Frequently Asked Questions, available at
https://computermobilepanel.nielsen.com/ui/US/en/faqen.html.
                                                  20
     Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 21 of 42 PageID #:21




          83.   As a result of the Data Breach, Plaintiff’s and Class Members’ Private Information,

which has an inherent market value in both legitimate and dark markets, has been damaged and

diminished in its value by its unauthorized and potential release onto the Dark Web, where it may

soon be available and holds significant value for the threat actors.

D.        Future Cost of Credit and Identity Theft Monitoring is Reasonable and Necessary

          84.   To date, Defendant has done little to provide Plaintiff and Class Members with

relief for the damages they have suffered as a result of the Data Breach, despite Plaintiff and Class

Members being at risk of identity theft and fraud for the foreseeable future. Defendant has not

offered any relief or protection.

          85.   Given the type of targeted attack in this case and sophisticated criminal activity, the

type of Private Information, and the modus operandi of cybercriminals, there is a strong probability

that entire batches of stolen information have been placed, or will be placed, on the black

market/dark web for sale and purchase by criminals intending to utilize the Private Information for

identity theft crimes – e.g., opening bank accounts in the victims’ names to make purchases or to

launder money; file false tax returns; take out loans or lines of credit; or file false unemployment

claims.

          86.   Such fraud may go undetected until debt collection calls commence months, or even

years, later. An individual may not know that his or her Social Security Number was used to file

for unemployment benefits until law enforcement notifies the individual’s employer of the

suspected fraud. Fraudulent tax returns are typically discovered only when an individual’s

authentic tax return is rejected.

          87.   Furthermore, the information accessed and disseminated in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data


                                                  21
     Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 22 of 42 PageID #:22




breach, where victims can easily cancel or close credit and debit card accounts. 36 The information

disclosed in this Data Breach is impossible to “close” and difficult, if not impossible, to change

(such as Social Security numbers).

       88.     Consequently, Plaintiff and Class Members are at a present and ongoing risk of

fraud and identity theft for many years into the future.

       89.     The retail cost of credit monitoring and identity theft monitoring can cost $200 or

more a year per Class Member. This is a reasonable and necessary cost to protect Class Members

from the risk of identity theft that arose from Defendant’s Data Breach. This is a future cost for a

minimum of five years that Plaintiff and Class Members would not need to bear but for

Defendant’s failure to safeguard their Private Information.

E.     Injunctive Relief is Necessary to Protect Against Future Data Breaches

       90.     Moreover, Plaintiff and Class Members have an interest in ensuring that Private

Information, which is believed to remain in the possession of Defendant, is protected from further

breaches by the implementation of security measures and safeguards, including but not limited to,

making sure that the storage of data or documents containing Private Information is not accessible

online and that access to such data is password protected.

       91.     Because of Defendant’s failure to prevent the Data Breach, Plaintiff and Class

Members suffered—and will continue to suffer—damages. These damages include, inter alia,

monetary losses and lost time. Also, they have suffered or are at an increased risk of suffering:

               a.      loss of the opportunity to control how their Private Information is used;

               b.      diminution in value of their Private Information;



36
  See Jesse Damiani, Your Social Security Number Costs $4 On The Dark Web, New Report Finds,
FORBES (Mar. 25, 2020), https://www.forbes.com/sites/jessedamiani/2020/03/25/your-social-
security-number-costs-4-on-the-dark-web-new-report-finds/?sh=6a44b6d513f1.
                                             22
     Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 23 of 42 PageID #:23




                  c.     compromise and continuing publication of their Private Information;

                  d.     out-of-pocket costs from trying to prevent, detect, and recovery from

        identity theft and fraud;

                  e.     lost opportunity costs and wages from spending time trying to mitigate the

        fallout of the Data Breach by, inter alia, preventing, detecting, contesting, and recovering

        from identify theft and fraud;

                  f.     delay in receipt of tax refund monies;

                  g.     unauthorized use of their stolen Private Information; and

                  h.     continued risk to their Private Information —which remains in Defendant’s

        possession—and is thus at risk for futures breaches so long as Defendant fails to take

        appropriate measures to protect the Private Information.

F.      Lack of Compensation

        92.       Plaintiff and Class Members have been damaged by the compromise and

exfiltration of their Private Information in the Data Breach, and by the severe disruption to their

lives as a direct and foreseeable consequence of this Data Breach.

        93.       As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have been placed at an actual, imminent, and substantial risk of harm from fraud and

identity theft.

        94.       Further, Plaintiff and Class Members have been forced to expend time dealing with

the effects of the Data Breach and face substantial risk of out-of-pocket fraud losses such as loans

opened in their names, medical services billed in their names, tax return fraud, utility bills opened

in their names, credit card fraud, and similar identity theft. Plaintiff and Class Members may also




                                                  23
    Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 24 of 42 PageID #:24




incur out-of-pocket costs for protective measures such as credit monitoring fees, credit report fees,

credit freeze fees, and similar costs directly or indirectly related to the Data Breach.

       95.     Specifically, many victims suffered ascertainable losses in the form of out-of-

pocket expenses and the value of their time reasonably incurred to remedy or mitigate the effects

of the Data Breach relating to:

               a.      Finding fraudulent charges;

               b.      Canceling and reissuing credit and debit cards;

               c.      Purchasing credit monitoring and identity theft prevention;

               d.      Addressing their inability to withdraw funds linked to compromised

       accounts;

               e.      Taking trips to banks and waiting in line to obtain funds held in limited

       accounts;

               f.      Placing “freezes” and “alerts” with credit reporting agencies;

               g.      Spending time on the phone with or at a financial institution to dispute

       fraudulent charges;

               h.      Contacting financial institutions and closing or modifying financial

       accounts;

               i.      Resetting automatic billing and payment instructions from compromised

       credit and debit cards to new ones;

               j.      Paying late fees and declined payment fees imposed as a result of failed

       automatic payments that were tied to compromised cards that had to be cancelled; and

               k.      Closely reviewing and monitoring bank accounts and credit reports for

       unauthorized activity for years to come.


                                                  24
    Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 25 of 42 PageID #:25




       96.     In addition, Plaintiff and Class Members also suffered a loss of value of their

Private Information when it was acquired by cyber thieves in the Data Breach.

       97.     Plaintiff and Class Members are forced to live with the anxiety that their Private

Information may be disclosed to the entire world, thereby subjecting them to fraud,

embarrassment, and depriving them of any right to privacy whatsoever.

       98.     Defendant’s delay in identifying and reporting the Data Breach caused additional

harm. In a data breach, time is of the essence to reduce the imminent misuse of Private Information.

Early notification helps victims of a Data Breach mitigate their injuries, and in the converse,

delayed notification causes more harm and increases the risk of identity theft. Here, Defendant

knows of the breach and has not formally notified all victims. It has yet to offer an explanation of

purpose for the delay.

                                     CLASS ALLEGATIONS

       99.     Plaintiff brings this case individually and, pursuant to Rule 23 of the Federal Rules

of Civil Procedure, on behalf of the following Class:

       All individuals in the United States whose Private Information was compromised
       in the Data Breach.

       100.    Excluded from the Class is Defendant, its subsidiaries and affiliates, its officers,

directors and members of their immediate families and any entity in which Defendant has a

controlling interest, the legal representative, heirs, successors, or assigns of any such excluded

party, the judicial officer(s) to whom this action is assigned, and the members of their immediate

families.

       101.    Plaintiff reserves the right to modify or amend the definition of the proposed Class

prior to moving for class certification.




                                                25
    Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 26 of 42 PageID #:26




       102.    Numerosity. The Class described above is so numerous that joinder of all

individual members in one action would be impracticable. The disposition of the individual claims

of the respective Class Members through this class action will benefit both the parties and this

Court. The exact size of the Class and the identities of the individual members thereof are

ascertainable through Defendant’s records, including but not limited to, the files implicated in the

Data Breach.

       103.    Commonality. This action involves questions of law and fact that are common to

the Class Members. Such common questions include, but are not limited to:

               a.      Whether Defendant had a duty to protect the Private Information of Plaintiff

       and Class Members;

               b.      Whether Defendant had a duty to maintain the confidentiality of Plaintiff

       and Class Members’ Private Information;

               c.      Whether Defendant was negligent in collecting, storing, and safeguarding

       Plaintiff’s and Class Members’ Private Information;

               d.      Whether Defendant breached its fiduciary duty to Plaintiff and the Class;

               e.      Whether Plaintiff and Class Members are entitled to damages as a result of

       Defendant’s wrongful conduct;

               f.      Whether Plaintiff and Class Members are entitled to restitution or

       disgorgement as a result of Defendant’s wrongful conduct; and

               g.      Whether Plaintiff and Class Members are entitled to injunctive relief to

       redress the imminent and currently ongoing harm faced as a result of the Data Breach.

       104.    Typicality. Plaintiff’s claims are typical of the claims of the Class Members. The

claims of Plaintiff and Class Members are based on the same legal theories and arise from the same


                                                26
    Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 27 of 42 PageID #:27




failure by Defendant to safeguard Private Information. Plaintiff’s and Class Members’ information

was stored by Defendant’s software, each having their Private Information obtained by an

unauthorized third party.

       105.    Adequacy of Representation. Plaintiff is an adequate representative of the Class

because her interests do not conflict with the interests of the other Class Members she seeks to

represent; Plaintiff has retained counsel competent and experienced in complex class action

litigation; Plaintiff intends to prosecute this action vigorously; and Plaintiff’s counsel has adequate

financial means to vigorously pursue this action and ensure the interests of the Class will not be

harmed. Furthermore, the interests of the Class Members will be fairly and adequately protected

and represented by Plaintiff and Plaintiff’s counsel.

       106.    Predominance. Common questions of law and fact predominate over any

questions affecting only individual Class Members. For example, Defendant’s liability and the fact

of damages is common to Plaintiff and each member of the Class. If Defendant breached its

common law and statutory duties to secure Private Information on its network server, then Plaintiff

and each Class Member suffered damages from the exposure of sensitive Private Information in

the Data Breach.

       107.    Superiority. Given the relatively low amount recoverable by each Class Member,

the expenses of individual litigation are insufficient to support or justify individual suits, making

this action superior to individual actions.

       108.    Manageability. The precise size of the Class is unknown without the disclosure of

Defendant’s records. The claims of Plaintiff and Class Members are substantially identical as

explained above. Certifying the case as a class action will centralize these substantially identical




                                                  27
    Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 28 of 42 PageID #:28




claims in a single proceeding and adjudicating these substantially identical claims at one time is

the most manageable litigation method available to Plaintiff and the Class.

                              FIRST CAUSE OF ACTION
                        NEGLIGENCE AND NEGLIGENCE PER SE
                           (On Behalf of Plaintiff and the Class)

       109.    Plaintiff hereby repeats and realleges paragraphs 1 through 108 of this Complaint

and incorporates them by reference herein.

       110.    Defendant owed a duty under common law to Plaintiff and Class Members to

exercise reasonable care in obtaining, retaining, securing, safeguarding, deleting, and protecting

their Private Information in its possession from being compromised, lost, stolen, accessed, and

misused by unauthorized persons.

       111.    Defendant’s duty to use reasonable care arose from several sources, including but

not limited to those described below.

       112.    Defendant had a common law duty to prevent foreseeable harm to others. This duty

existed because Plaintiff and Class Members were the foreseeable and probable victims of any

inadequate security practices on the part of Defendant. By collecting and storing Private

Information that is routinely targeted by criminals for unauthorized access, Defendant was

obligated to act with reasonable care to protect against these foreseeable threats.

       113.    Defendant’s duty also arose from Defendant’s position as a software provider.

Defendant holds itself out as a trusted software provider to automotive dealerships, and thereby

assumes a duty to reasonably protect its clients’ customers’ information. Indeed, Defendant, as a

software provider, was in a unique and superior position to protect against the harm suffered by

Plaintiff and Class Members as a result of the Data Breach.




                                                 28
    Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 29 of 42 PageID #:29




       114.    Defendant breached the duties owed to Plaintiff and Class Members and thus was

negligent. Defendant breached these duties by, among other things: (a) mismanaging its system

and failing to identify reasonably foreseeable internal and external risks to the security,

confidentiality, and integrity of customer information that resulted in the unauthorized access and

compromise of Private Information; (b) mishandling its data security by failing to assess the

sufficiency of its safeguards in place to control these risks; (c) failing to design and implement

information safeguards to control these risks; (d) failing to adequately test and monitor the

effectiveness of the safeguards’ key controls, systems, and procedures; (e) failing to evaluate and

adjust its information security program in light of the circumstances alleged herein; (f) failing to

detect the breach at the time it began or within a reasonable time thereafter; and (g) failing to

follow its own privacy policies and practices published to its clients.

       115.    But for Defendant’s wrongful and negligent breach of its duties owed to Plaintiff

and Class Members, their Private Information would not have been compromised.

       116.    Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting commerce”

including, as interpreted and enforced by the FTC, the unfair act or practice by entities such as

Defendant or failing to use reasonable measures to protect Private Information. Various FTC

publications and orders also form the basis of Defendant’s duty.

       117.    Defendant violated Section 5 of the FTC Act by failing to use reasonable measures

to protect the Private Information and not complying with the industry standards. Defendant’s

conduct was particularly unreasonable given the nature and amount of Private Information it

obtained and stored and the foreseeable consequences of a data breach involving the Private

Information of its customers.




                                                 29
    Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 30 of 42 PageID #:30




       118.    Plaintiff and members of the Class are consumers within the class of persons

Section 5 of the FTC Act was intended to protect.

       119.    Defendant’s violation of Section 5 of the FTC Act constitutes negligence per se.

       120.    The harm that has occurred as a result of Defendant’s conduct is the type of harm

that the FTC Act was intended to guard against.

       121.    As a direct and proximate result of Defendant’s negligence, Plaintiff and Class

Members have suffered injuries, including:

               a.     Theft of their Private Information;

               b.     Costs associated with the detection and prevention of identity theft and

       unauthorized use of the financial accounts;

               c.     Costs associated with purchasing credit monitoring and identity theft

       protection services;

               d.     Lowered credit scores resulting from credit inquiries following fraudulent

       activities;

               e.     Costs associated with time spent and the loss of productivity from taking

       time to address and attempt to ameliorate, mitigate, and deal with the actual and future

       consequences of the Defendant Data Breach – including finding fraudulent charges,

       cancelling and reissuing cards, enrolling in credit monitoring and identity theft protection

       services, freezing and unfreezing accounts, and imposing withdrawal and purchase limits

       on compromised accounts;

               f.     The imminent and certainly impending injury flowing from the increased

       risk of potential fraud and identity theft posed by their Private Information being placed in

       the hands of criminals;


                                                30
     Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 31 of 42 PageID #:31




                   g.       Damages to and diminution in value of their Private Information entrusted,

        directly or indirectly, to Defendant with the mutual understanding that Defendant would

        safeguard Plaintiff’s and Class Members’ data against theft and not allow access and

        misuse of their data by others;

                   h.       Continued risk of exposure to hackers and thieves of their Private

        Information, which remains in Defendant’s possession and is subject to further breaches

        so long as Defendant fails to undertake appropriate and adequate measures to protect

        Plaintiff’s and Class Members’ data;

                   i.       The erosion of the essential and confidential relationship between

        Defendant and Plaintiff and Class Members; and

                   j.       Loss of personal time spent carefully reviewing account statements for

        charges for services not received.

        122.       As a direct and proximate result of Defendant’s negligence, Plaintiff and Class

Members are entitled to damages, including compensatory, punitive, and nominal damages, in an

amount to be proven at trial.

                                  SECOND CAUSE OF ACTION
                        BREACH OF THIRD-PARTY BENFICIARY CONTRACT
                                (On Behalf of Plaintiff and the Class)

        123.       Plaintiff hereby repeats and realleges paragraphs 1 through 108 of this Complaint

and incorporates them by reference herein.

        124.       Upon information and belief, Defendant entered into virtually identical contracts

with its clients to provide software products and/or services, which included data security

practices, procedures, and protocols sufficient to safeguard the Private Information that was to be

entrusted to it.



                                                    31
    Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 32 of 42 PageID #:32




       125.    Such contracts were made expressly for the benefit of Plaintiff and the Class, as it

was their Private Information that Defendant agreed to receive and protect through its services.

Thus, the benefit of collection and protection of the Private Information belonging to Plaintiff and

the Class was the direct and primary objective of the contracting parties, and Plaintiff and Class

Members were direct and express beneficiaries of such contracts.

       126.    Defendant knew that if it were to breach these contracts with its clients, Plaintiff

and the Class would be harmed.

       127.    Defendant breached its contracts with its clients and, as a result, Plaintiff and Class

Members were affected by this Data Breach when Defendant failed to use reasonable data security

and/or business associate monitoring measures that could have prevented the Data Breach.

       128.    As foreseen, Plaintiff and the Class were harmed by Defendant’s failure to use

reasonable data security measures to securely store and protect the files in its care, including but

not limited to, the continuous and substantial risk of harm through the loss of their Private

Information.

       129.    Accordingly, Plaintiff and the Class are entitled to damages in an amount to be

determined at trial, along with costs and attorneys’ fees incurred in this action.

                                 THIRD CAUSE OF ACTION
                                   UNJUST ENRICHMENT
                              (On Behalf of Plaintiff and the Class)

       130.    Plaintiff hereby repeats and realleges paragraphs 1 through 108 of this Complaint

and incorporates them by reference herein.

       131.    Plaintiff brings this claim in the alternative to her breach of third-party beneficiary

contract claim above.




                                                 32
    Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 33 of 42 PageID #:33




       132.    Plaintiff and Class Members conferred a monetary benefit on Defendant.

Specifically, they provided Defendant with their Private Information. In exchange, Defendant

should have provided adequate data security for Plaintiff’s and Class Members’.

       133.    Defendant knew that Plaintiff and Class Members conferred a benefit on it in the

form their Private Information as a necessary part of their obtaining automobile’s at Defendant’s

clients. Defendant appreciated and accepted that benefit. Defendant profited from these

transactions and used the Private Information of Plaintiff and Class Members for business

purposes.

       134.    Upon information and belief, Defendant funds its data security measures entirely

from its general revenue, including payments on behalf of or for the benefit of Plaintiff and Class

Members.

       135.    As such, a portion of the payments made for the benefit of or on behalf of Plaintiff

and Class Members is to be used to provide a reasonable level of data security, and the amount of

the portion of each payment made that is allocated to data security is known to Defendant.

       136.    Defendant, however, failed to secure Plaintiff’s and Class Members’ Private

Information and, therefore, did not provide adequate data security in return for the benefit Plaintiff

and Class Members provided.

       137.    Defendant would not be able to carry out an essential function of its regular

business without the Private Information of Plaintiff and Class Members and derived revenue by

using it for business purposes. Plaintiff and Class Members expected that Defendant or anyone in

Defendant’s position would use a portion of that revenue to fund adequate data security practices.

       138.    Defendant acquired the Private Information through inequitable means in that it

failed to disclose the inadequate security practices previously alleged.


                                                 33
     Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 34 of 42 PageID #:34




        139.    If Plaintiff and Class Members knew that Defendant had not reasonably secured

their Private Information, they would not have allowed their Private Information to be provided to

Defendant.

        140.    Defendant enriched itself by saving the costs it reasonably should have expended

on data security measures to secure Plaintiff’s and Class Members’ Private Information. Instead

of providing a reasonable level of security that would have prevented the Data Breach, Defendant

instead calculated to increase its own profit at the expense of Plaintiff and Class Members by

utilizing cheaper, ineffective security measures and diverting those funds to its own profit. Plaintiff

and Class Members, on the other hand, suffered as a direct and proximate result of Defendant’s

decision to prioritize its own profits over the requisite security and the safety of their Private

Information.

        141.    Under the principles of equity and good conscience, Defendant should not be

permitted to retain the money wrongfully obtained Plaintiff and Class Members, because

Defendant failed to implement appropriate data management and security measures that are

mandated by industry standards.

        142.    Plaintiff and Class Members have no adequate remedy at law.

        143.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to: (i) invasion of privacy;

(ii) theft of their Private Information; (iii) lost or diminished value of Private Information; (iv) lost

time and opportunity costs associated with attempting to mitigate the actual consequences of the

Data Breach; (v) loss of benefit of the bargain; (vi) lost opportunity costs associated with

attempting to mitigate the actual consequences of the Data Breach; (vii) experiencing an increase

in spam calls, texts, and/or emails; (viii) nominal damages; and (ix) the continued and certainly


                                                   34
    Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 35 of 42 PageID #:35




increased risk to their Private Information, which: (a) remains unencrypted and available for

unauthorized third parties to access and abuse; and (b) remains backed up in Defendant’s

possession and is subject to further unauthorized disclosures so long as Defendant fails to

undertake appropriate and adequate measures to protect the Private Information.

       144.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will continue to suffer other forms of injury and/or harm.

       145.    Defendant should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiff and Class Members, proceeds that it unjustly received from them.

In the alternative, Defendant should be compelled to refund the amounts that Plaintiff and Class

Members overpaid for Defendant’s services.

                               FOURTH CAUSE OF ACTION
                              BREACH OF FIDUCIARY DUTY
                             (On Behalf of Plaintiff and the Class)

       146.    Plaintiff hereby repeats and realleges paragraphs 1 through 108 of this Complaint

and incorporate them by reference herein.

       147.    Plaintiff and Class Members have an interest, both equitable and legal, in the

Private Information about them that was conveyed to, collected by, and maintained by Defendant

and that was ultimately accessed or compromised in the Data Breach.

       148.    As a software provider to automotive dealerships, Defendant has a fiduciary

relationship to its clients and their customers, like Plaintiff and the Class Members.

       149.    Because of that fiduciary relationship, Defendant was provided with and stored

private and valuable Private Information related to Plaintiff and the Class, which it was required

to maintain in confidence.




                                                 35
    Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 36 of 42 PageID #:36




       150.    Defendant owed a fiduciary duty under common law to Plaintiff and Class

Members to exercise the utmost care in obtaining, retaining, securing, safeguarding, deleting, and

protecting their Private Information in its possession from being compromised, lost, stolen,

accessed by, misused by, or disclosed to unauthorized persons.

       151.    As a result of the parties’ fiduciary relationship, Defendant had an obligation to

maintain the confidentiality of Plaintiff’s and Class Members’ Private Information.

       152.    Plaintiff and Class Members have a privacy interest in personal information, and

Defendant had a fiduciary duty not to disclose data concerning its clients’ customers.

       153.    As a result of the parties’ relationship, Defendant had possession and knowledge of

confidential Private Information of Plaintiff and Class Members, information not generally known.

       154.    Plaintiff and Class Members did not consent to or authorize Defendant to release

or disclose their Private Information to an unknown criminal actor.

       155.    Defendant breached the duties owed to Plaintiff and Class Members by, among

other things: (a) mismanaging its system and failing to identify reasonably foreseeable internal and

external risks to the security, confidentiality, and integrity of Private Information that resulted in

the unauthorized access and compromise of Private Information; (b) mishandling its data security

by failing to assess the sufficiency of its safeguards in place; (c) failing to design and implement

information safeguards; (d) failing to adequately test and monitor the effectiveness of the

safeguards’ key controls, systems, and procedures; (e) failing to evaluate and adjust its information

security program in light of the circumstances alleged herein; (f) failing to detect the breach at the

time it began or within a reasonable time thereafter; (g) failing to follow its own privacy policies

and practices published to its customers; and (h) making an unauthorized and unjustified disclosure

and release of Plaintiff and the Class Members’ Private Information to a criminal third party.


                                                 36
    Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 37 of 42 PageID #:37




       156.    But for Defendant’s wrongful breach of its fiduciary duties owed to Plaintiff and

Class Members, their privacy, confidences, and Private Information would not have been

compromised.

       157.    As a direct and proximate result of Defendant’s breach of its fiduciary duties and

breach of its confidences, Plaintiff and Class Members have suffered injuries, including:

               a.     Theft of their Private Information;

               b.     Costs associated with the detection and prevention of identity theft and

       unauthorized use of the financial accounts;

               c.     Costs associated with purchasing credit monitoring and identity theft

       protection services;

               d.     Lowered credit scores resulting from credit inquiries following fraudulent

       activities;

               e.     Costs associated with time spent and the loss of productivity from taking

       time to address and attempt to ameliorate, mitigate, and deal with the actual and future

       consequences of the Defendant Data Breach – including finding fraudulent charges,

       cancelling and reissuing cards, enrolling in credit monitoring and identity theft protection

       services, freezing and unfreezing accounts, and imposing withdrawal and purchase limits

       on compromised accounts;

               f.     The imminent and certainly impending injury flowing from the increased

       risk of potential fraud and identity theft posed by their Private Information being placed in

       the hands of criminals;

               g.     Damages to and diminution in value of their Private Information entrusted,

       directly or indirectly, to Defendant with the mutual understanding that Defendant would


                                                37
    Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 38 of 42 PageID #:38




       safeguard Plaintiff’s and Class Members’ data against theft and not allow access and

       misuse of their data by others;

              h.      Continued risk of exposure to hackers and thieves of their Private

       Information, which remains in Defendant’s possession and is subject to further breaches

       so long as Defendant fails to undertake appropriate and adequate measures to protect

       Plaintiff’s and Class Members’ data;

              i.      Loss of their privacy and confidentiality in their Private Information;

              j.      The erosion of the essential and confidential relationship between

       Defendant, as a software provider, and Plaintiff and Class Members as Defendant’s clients’

       customers; and

              k.      Loss of personal time spent carefully reviewing account statements to check

       for unauthorized charges, as directed to do by Defendant.

       158.   As a direct and proximate result of Defendant’s breach of its fiduciary duty,

Plaintiff and Class Members are entitled to damages, including compensatory, punitive, and/or

nominal damages, in an amount to be proven at trial.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and Class Members, requests judgment

against Defendant and that the Court grants the following:

       A.     For an order certifying this action as a class action and appointing Plaintiff and her

              counsel to represent the Class;

       B.     For equitable relief enjoining Defendant from engaging in the wrongful conduct

              complained of herein pertaining to the misuse and/or disclosure of Plaintiff’s and




                                                38
Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 39 of 42 PageID #:39




        Class Members’ Private Information, and from refusing to issue prompt, complete

        and accurate disclosures to Plaintiff and Class Members;

  C.    For injunctive relief requested by Plaintiff, including, but not limited to, injunctive

        and other equitable relief as is necessary to protect the interests of Plaintiff and

        Class Members, including but not limited to an order:

           i.      prohibiting Defendant from engaging in the wrongful and unlawful

                   acts described herein;

           ii.     requiring Defendant to protect, including through encryption, all data

                   collected through the course of their business in accordance with all

                   applicable regulations, industry standards, and federal, state or local

                   laws;

           iii.    requiring Defendant to delete, destroy, and purge the Private

                   Information of Plaintiff and Class Members unless Defendant can

                   provide to the Court reasonable justification for the retention and use of

                   such information when weighed against the privacy interests of Plaintiff

                   and Class Members;

           iv.     requiring Defendant to implement and maintain a comprehensive

                   Information Security Program designed to protect the confidentiality

                   and integrity of the Private Information of Plaintiff and Class Members;

           v.      prohibiting Defendant from maintaining the Private Information of

                   Plaintiff and Class Members on a cloud-based database;

           vi.     requiring Defendant to engage independent third-party security

                   auditors/penetration testers as well as internal security personnel to


                                          39
Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 40 of 42 PageID #:40




                   conduct testing, including simulated attacks, penetration tests, and

                   audits on Defendant’s systems on a periodic basis, and ordering

                   Defendant to promptly correct any problems or issues detected by such

                   third-party security auditors;

           vii.    requiring Defendant to engage independent third-party security

                   auditors and internal personnel to run automated security monitoring;

           viii.   requiring Defendant to audit, test, and train their security personnel

                   regarding any new or modified procedures; requiring Defendant to

                   segment data by, among other things, creating firewalls and access

                   controls so that if one area of Defendant’s network is compromised,

                   hackers cannot gain access to other portions of Defendant’s systems;

           ix.     requiring Defendant to conduct regular database scanning and securing

                   checks;

           x.      requiring Defendant to establish an information security training

                   program that includes at least annual information security training for

                   all employees, with additional training to be provided as appropriate

                   based upon the employees’ respective responsibilities with handling

                   Private Information, as well as protecting the Private Information of

                   Plaintiff and Class Members;

           xi.     requiring Defendant to routinely and continually conduct internal

                   training and education, and on an annual basis to inform internal

                   security personnel how to identify and contain a breach when it occurs

                   and what to do in response to a breach;


                                         40
Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 41 of 42 PageID #:41




           xii.    requiring Defendant to implement a system of tests to assess its

                   respective employees’ knowledge of the education programs discussed

                   in the preceding subparagraphs, as well as randomly and periodically

                   testing employees’ compliance with Defendant’s policies, programs,

                   and systems for protecting Private Information;

           xiii.   requiring Defendant to implement, maintain, regularly review, and

                   revise as necessary a threat management program designed to

                   appropriately monitor Defendant’s information networks for threats,

                   both internal and external, and assess whether monitoring tools are

                   appropriately configured, tested, and updated;

           xiv.    requiring Defendant to meaningfully educate all Class Members about

                   the threats that they face as a result of the loss of their confidential

                   Private Information to third parties, as well as the steps affected

                   individuals must take to protect themselves;

           xv.     requiring Defendant to implement logging and monitoring programs

                   sufficient to track traffic to and from Defendant’s servers; and

           xvi.    for a period of 10 years, appointing a qualified and independent third

                   party assessor to conduct a SOC 2 Type 2 attestation on an annual basis

                   to evaluate Defendant’s compliance with the terms of the Court’s final

                   judgment, to provide such report to the Court and to counsel for the

                   class, and to report any deficiencies with compliance of the Court’s final

                   judgment;




                                         41
    Case: 1:24-cv-05360 Document #: 1 Filed: 06/26/24 Page 42 of 42 PageID #:42




       D.     For an award of actual damages, compensatory damages, and nominal damages, in

              an amount to be determined, as allowable by law;

       E.     For an award of punitive damages, as allowable by law;

       F.     For an award of attorneys’ fees and costs, and any other expenses, including

              expert witness fees;

       G.     Pre- and post-judgment interest on any amounts awarded; and

       H.     Such other and further relief as this court may deem just and proper.

                                  JURY TRIAL DEMANDED

       A jury trial is demanded on all claims so triable.

Dated: June 26, 2024.                                Respectfully Submitted,

                                                     /s/ Gary M. Klinger
                                                     Gary M. Klinger
                                                     MILBERG COLEMAN BRYSON
                                                     PHILLIPS GROSSMAN, PLLC
                                                     227 W. Monroe Street, Suite 2100
                                                     Chicago, IL 60606
                                                     Phone: 866.252.0878
                                                     Email: gklinger@milberg.com

                                                     Jeff Ostrow
                                                     KOPELOWITZ OSTROW P.A.
                                                     One West Las Olas Blvd., Suite 500
                                                     Fort Lauderdale, FL 33301
                                                     Tel: 954.332.4200
                                                     ostrow@kolawyers.com

                                                     Gary F. Lynch
                                                     LYNCH CARPENTER, LLP
                                                          Penn Avenue, th Floor
                                                     Pittsburgh, PA
                                                     T: ( )      -
                                                     gary@lcllp.com

                                                     Counsel for Plaintiﬀ and the Putative Class



                                                42
